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          In the United States Court of Federal Claims
____________________________________
                                  )
PRECISION PINE & TIMBER, INC., )
                                  )                       No. 98-720 C
                                  )
                 Plaintiff,       )
v.                                )                       Filed April 29, 2005
                                  )
THE UNITED STATES,                )
                                  )
                 Defendant.       )
_________________________________)


                                           ORDER

       On April 18, 2005, defendant filed a Motion in Limine to Exclude “Product Mix”
Testimony from Lorin Porter, document 317. Plaintiff filed a response to defendant’s motion on
April 28, 2005, document 331. The Court is of the view that the admissibility of Mr. Porter’s
testimony under Federal Rule of Evidence 701 should be left for determination at trial.
Accordingly, defendant’s Motion in Limine to Exclude “Product Mix” Testimony from Lorin
Porter DENIED.

IT IS SO ORDERED.

                                                    s/ George W. Miller
                                                   GEORGE W. MILLER
                                                   Judge
